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HONORABLE BENJAMIN H. SETTLE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

HP TUNERS, LLC, a Nevada limited liability )

company, NO. 31 17-cv-05760-BHS

Plaintiff, PROTECTIVE ORDER

VS.

KEVIN SYKES-BONNETT and SYKED
ECU TUNING INCORPORATED, a
Washington corporation,

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Defendants.

1. PURPOSES AND LIMITATIONS

Discovery in this action is likely to involve production of confidential, proprietary, or
private information for which special protection may be warranted The parties have therefore
agreed to the following Protective Order. The parties acknowledge that this agreement is
consistent with LCR 26(c). lt does not confer blanket protection on all disclosures or responses
to discovery, the protection it affords from public disclosure and use extends only to the limited
information or items that are entitled to confidential treatment under the applicable legal

principles, and it does not presumptively entitle parties to file confidential information under

seal.

lieurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
211 E. McLoughlin Boulevard, Suite 100

PO Box 611

Vancouver, WA 98666-0611

(360) 750-7547

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2. “CONFIDENTIAL” AND “HIGHLY CONFIDENTIAL” MATERIAL

2.1 “Confidential” material shall include the following documents and tangible things
produced or otherwise exchanged: business records and employee files; documents relating to
expertise and knowledge, including automotive tuning data and data related to other types of
Vehicles; documents relating to undisclosed advertising and marketing; management
communications; pricing information; agreements with employees and non-parties; and technical
information about a party’s products or anticipated products

2.2 “Highly Confidential” material shall include any document, material, or
information otherwise meeting the definition of “Confidential,"’ the disclosure of which to
another party or non-party the disclosing party reasonably believes would likely result in
competitive, commercial, financial, or other harm to the disclosing party or its clients or potential
clients. “Highly confidential” material may include, without limitation, proprietary technical
information in the nature of hardware design documents, source code; proprietary software;
license key generators, and computer passwords.

3. SCOPE-

The protections conferred by this agreement cover not only confidential material (as
defined above), but also (1) any information copied or extracted from confidential material; (2)
all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
conversations, or presentations by parties or their counsel that might reveal confidential material
However, the protections conferred by this agreement do not cover information that is in the
public domain or becomes part of the public domain through trial or otherwise.

4. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

4.1 Basic Principles. A receiving party may use confidential material that is disclosed
or produced by another party or by a non-party in connection with this case only for prosecuting,
defending, or attempting to settle this litigation Confidential material may be disclosed only to

the categories of persons and under the conditions described in this agreement Confidential

Heurlin, Pottcr, Jahn, Leatham, Holtmann & Stoker, P.S.
211 E. McLoughlin Boulevard, Suite 100

PO Box 611

Vancouver, WA 98666-061 l

(360) 750-7547

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material must be stored and maintained by a receiving party at a location and in a secure manner
that ensures that access is limited to the persons authorized under this agreement

4.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
ordered by the court or permitted in writing by the designating party, a receiving party may
disclose any confidential material only to:

(a) the receiving party’s counsel of record in this action, as well as employees of counsel
to whom it is reasonably necessary to disclose the information for this litigation;

(b) the officers, directors, and employees (including in house counsel) of the receiving
party to whom disclosure is reasonably necessary for this litigation;

(c) experts and consultants to whom disclosure is reasonably necessary for this litigation
and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

(d) the court, court personnel, and court reporters and their staff;

(e) copy or imaging services retained by counsel to assist in the duplication of
confidential material, provided that counsel for the party retaining the copy or imaging service
instructs the service not to disclose any confidential material to third parties and to immediately
return all originals and copies of any confidential material;

(f`) during their depositions, witnesses in the action to whom disclosure is reasonably
necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
A), unless otherwise agreed by the designating party or ordered by the court. Pages of
transcribed deposition testimony or exhibits to depositions that reveal confidential material must
be separately bound by the court reporter and may not be disclosed to anyone except as permitted
under this agreement;

(g) the author or recipient of a document containing the information or a custodian or
other person who otherwise possessed or knew the information;

(h) mediators or discovery masters (and their support staff) assisting in the above-

captioned action; and

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21 l E. McLoughlin Boulevard, Suite 100

PO Box 611
Vancouver, WA 98 666-061 1
(360) 750-7547

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(i) any other person designated by written agreement of the parties and the disclosing
party, or by order of the Court.

4.3 Disclosure of “HIGHLY CONFIDENTIAL” Information or Items. Unless otherwise
ordered by the court or permitted in writing by the designating party, a receiving party may
disclose any Highly Confidential material only to:

(a) the receiving party’s counsel of record in this action, as well as employees of counsel
to Whom it is reasonably necessary to disclose the information for this litigation provided those
employees are not also employees of the receiving party;

(b) experts and consultants (including computer forensic examiners and custodians) to
Whom disclosure is reasonably necessary for this litigation and who have signed the
“Acknowledgment and Agreement to Be Bound"` (Exhibit A);

(c) the court, court personnel, and court reporters and their staff;

(d) the author or recipient of a document containing the information or a custodian or
other person who otherwise possessed or knew the information;

(e) mediators or discovery masters (and their support staff) assisting in the above-
captioned action; and

(f) any other person designated by written agreement of the parties and the disclosing
party, or by order of the Court, where such disclosure is reasonably necessary for this litigation
and only after the above named persons have signed the “Acknowledgment and Agreement to Be
Bound” (Exhibit A).

4.4 Filing Confidential Material. Before filing confidential material or discussing or
referencing such material in court filings, the filing party shall confer with the designating party
to determine whether the designating party will remove the confidential designation, whether the

document can be redacted, or whether a motion to seal or stipulation and proposed order is

Heurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
211 E. McLoughlin Boulevard, Suite 100

PO Box 611

Vancouver, WA 98666-0611

(360) 750-7547

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warranted Local Civil Rule 5(g) sets forth the procedures that must be followed and the
standards that will be applied when a party seeks permission from the court to file material under
seal.
5. DESIGNATING PROTECTED MATERIAL
5.1 Exercise of Restraint and Care in Designating Material for Protection. Each party
Or non-party that designates information or items for protection under this agreement must take
care to limit any such designation to specific material that qualifies under the appropriate
standards The designating party must designate for protection only those parts of material,
documents, items, or oral or written communications that qualify, so that other portions of the
material, documents, items, or communications for which protection is not warranted are not
Swept unjustifiany within the ambit of this agreement
Mass, indiscriminate, or routinized designations are prohibited Designations that are
shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
unnecessarily encumber or delay the case development process or to impose unnecessary
expenses and burdens on other parties) expose the designating party to sanctions If it comes to a
designating party’s attention that information or items that it designated for protection do not
qualify for protection, the designating party must promptly notify all other parties that it is
withdrawing the mistaken designation
5.2 Manner and Timing of Designations. Except as otherwise provided in this
agreement (see, e.g., paragraph 5.2(a) below), or as otherwise stipulated or ordered, disclosure or
discovery material that qualifies for protection under this agreement must be clearly so
designated before or when the material is disclosed or produced
(a) Information in documentary form: (e.g., paper or electronic documents and deposition
exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings), the
designating party must affix the word “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL"` to
each page that contains confidential material If only a portion or portions of the material on a
H@urlin, Poner, Jahn, Leacham, Holrmann & Stoker, P.s.
211 E. Mcl,@ughiin souievard, suite 100
Po Box 611

Vancouver, WA 98666-0611
(360) 750-7547

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page qualifies for protection, the producing party also must clearly identify the protected
portion(s) (e.g., by making appropriate markings in the margins).

(b) Testimony given in deposition or in other pretrial or trial proceedings the parties
must identify on the record, during the deposition, hearing, or other proceeding, all protected
testimony, without prejudice to their right to so designate other testimony after reviewing the
transcript Any party or non-party may, within fifteen days after receiving a deposition transcript,
designate portions of the transcript, or exhibits thereto, as confidential

(c) Other tangible items: the producing party must affix in a prominent place on the
exterior of the container or containers in which the information or item is stored the word
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” If only a portion or portions of the
information or item warrant protection, the producing party, to the extent practicable, shall
identify the protected portion(s).

5.3 lnadvertent Failures to Designate. lf timely corrected, an inadvertent failure to
designate qualified information or items does not, standing alone, waive the designating party’s
right to secure protection under this agreement for such material Upon timely correction of a
designation, the receiving party must make reasonable efforts to ensure that the material is
treated in accordance with the provisions of this agreement
6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

6.1 Timing of Challenges. Any party or non-party may challenge a designation of
confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
designation is necessary to avoid foreseeable, substantial unfaimess, unnecessary economic
burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
challenge a confidentiality designation by electing not to mount a challenge promptly after the
original designation is disclosed

6.2 Meet and Confer. The parties must make every attempt to resolve any dispute
regarding confidential designations without court involvement Any motion regarding
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211 E. Mcroughiin BOulevard, suite 100
Po Box 611

Vancouver, WA 98666-0611
(360) 750-7547

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confidential designations or for a protective order must include a certification, in the motion or in
a declaration or affidavit, that the movant has engaged in a good faith meet and confer
conference with other affected parties in an effort to resolve the dispute without court action. The
certification must list the date, manner, and participants to the conference A good faith effort to
confer requires a face-to-face meeting or a telephone conference

6.3 Judicial lntervention. lf the parties cannot resolve a challenge without court
intervention, the designating party may file and serve a motion to retain confidentiality under
Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
persuasion in any such motion shall be on the designating party, Frivolous challenges, and those
made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
other parties) may expose the challenging party to sanctions All parties shall continue to
maintain the material in question as confidential until the court rules on the challenge
7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
LITIGATION

If a party is served with a subpoena or a court order issued in other litigation that compels
disclosure of any information or items designated in this action as “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL” that party must: (a) promptly notify the designating party in
writing and include a copy of the subpoena or court order; (b) promptly notify in writing the
party who caused the subpoena or order to issue in the other litigation that some or all of the
material covered by the subpoena or order is subject to this agreement Such notification shall
include a copy of this agreement; and (c) cooperate with respect to all reasonable procedures
sought to be pursued by the designating party whose confidential material may be affected
8. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
material to any person or in any circumstance not authorized under this agreement, the receiving
party must immediately (a) notify in writing the designating party of the unauthorized

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211 E. McLoughlin Boulevard, Suite 100

PO Box 611
Vancouver, WA 98666-0611
(360) 750-7547

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disclosures, (b) use its best efforts to retrieve all unauthorized copies of the protected material,
(c) inform the person or persons to whom unauthorized disclosures were made of all the terms of
this agreement, and (d) request that such person or persons execute the “Acknowledgment and
Agreement to Be Bound"` that is attached hereto as Exhibit A.
9. lNADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
MATERIAL

When a producing party gives notice to receiving parties that certain inadvertently
produced material is subject to a claim of privilege or other protection, the obligations of the
receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
provision is not intended to modify whatever procedure may be established in an e-discovery
order or agreement that provides for production without prior privilege review. Parties shall
confer on an appropriate non-waiver order under Fed. R. Evid. 502.
10. NON TERMINATION AND RETURN OF DOCUMENTS

Within 60 days after the termination of this action, including all appeals, each receiving
party must return all confidential material to the producing party, including all copies, extracts
and summaries thereof Altematively, the parties may agree upon appropriate methods of
destruction Notwithstanding this provision, counsel are entitled to retain one archival copy of all
documents filed with the court, trial, deposition, and hearing transcripts correspondence,
deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
work product, even if such materials contain confidential material The confidentiality
obligations imposed by this agreement shall remain in effect until a designating party agrees
otherwise in writing or a court orders otherwise

IT IS SO ORDERED.

DATED; fl Wl@

 

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The Ho orable\e amin H. Settle
United tatesDis ct Judge

Heurlin, Potter, Jahn, Leatham, Holtmanu & Stoker, P.S.
211 E. McLoughlin Boulevard, Suite 100

PO Box 611

Vancouver, WA 98666-061 1

(360) 750-7547

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EXHIBIT A
ACKNOWLEDGMENT AND AGR_EEMENT TO BE BOUND

1, [print or type full name], of

 

[print or type full address], declare under penalty of perjury that 1 have read in its entirety and
understand the Stipulated Protective Order that was issued by the United States District Court for
the Westem District of Washington on [date] in the case of HP Tuners, LLC v. Kevin Sykes-
Bonnett and Sykea’ ECU Timing Incorporated, Case No. 3:17-cv-05760-BHS. 1 agree to comply
with and to be bound by all the terms of this Stipulated Protective Order and 1 understand and
acknowledge that failure to so comply could expose me to sanctions and punishment in the
nature of contempt 1 solemnly promise that 1 will not disclose in any manner any information or
item that is subject to this Stipulated Protective Order to any person or entity except in strict
compliance with the provisions of this Order. 1 further agree to submit to the jurisdiction of the
United States District Court for the Westem District of Washington for the purpose of enforcing

the terms of this Stipulated Protective Order, even if such enforcement proceedings occur after

termination of this action

Date:

 

City and State where sworn and signed:

 

Printed name:

 

Signature:

 

l-leurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
211 E. McLoughlin Boulevard, Suite 100

PO Box 61 1

Vancouver, WA 98666-061 1

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